            Case 3:05-cr-00447-CRB          Document 37       Filed 11/16/05      Page 1 of 2



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                                 UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11
12   UNITED STATES OF AMERICA,           )             No. CR 05-00395 CRB
                                         )
13                       Plaintiff,      )             [PROPOSED] ORDER EXCLUDING TIME
                                         )             FROM SEPTEMBER 7, 2005 TO
14                       v.              )             NOVEMBER 9, 2005 UNDER THE
                                         )             SPEEDY TRIAL ACT
15   YOUNG JOON YANG, et al.             )
                                         )
16                       Defendants.     )
     ____________________________________)
17                                       )             No. CR 05-00447 CRB
     UNITED STATES OF AMERICA,           )
18                                       )
                 Plaintiff,              )
19                                       )
                 v.                      )
20                                       )
     MISUK MOORE, et al.,                )
21                                       )
                 Defendants              )
22   ____________________________________)
23
            On September 7, 2005, defendants in the above-captioned matter appeared, with counsel,
24
     before the Court for a status conference. Assistant United States Attorney Peter B. Axelrod and
25
     Department of Justice Trial Attorney Andrew Kline appeared on behalf of the United States.
26
            The parties agreed to a continuance of the matter to November 9, 2005, and a
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     corresponding exclusion of time under the Speedy Trial Act ( 18 U.S.C. § 3161), to provide
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     defense counsel with sufficient time to obtain and review additional discovery.
            Accordingly, the Court HEREBY ORDERS that the time from September 7, 2005 to


     ORDER
     CR 05-00395 CRB/CR 05-00447 CRB
            Case 3:05-cr-00447-CRB           Document 37             Filed 11/16/05         Page 2 of 2



 1   November 9, 2005 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161. For the reasons set
 2   forth above, the Court finds that the failure to grant the requested exclusion would deny defense
 3   counsel reasonable time necessary for effective preparation taking into account the exercise of
 4   due diligence. Further, the Court finds the exclusion warranted on complexity grounds, under 18
 5   U.S.C. § 3161(h)(8)(B)(ii), based on the number of defendants (34 charged), the number of calls
 6   on the wire (exceeding 33,000) and the fact that the vast majority of the calls are in the Korean
 7   language. Thus, the Court finds that the ends of justice served by granting the requested
 8   exclusion outweigh the best interest of the public and the defendant in a speedy trial and in the
 9   prompt disposition of criminal cases. The Court therefore concludes that this exclusion of time
10   should be made under 18 U.S.C. §§ 3161(h)(8)(A), (h)(8)(B)(ii) and (h)(8)(B)(iv).
11   IT IS SO ORDERED.
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     DATED: Nov. 16, 2005                                    T




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13                                                 CHARLES R. BREYER
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                                                   UNITED STATES DISTRICT JUDGE
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     ORDER
     CR 05-00395 CRB/CR 05-00447 CRB                    2
